Case 1:15-cr-20189-RNS Document 3 Entered on FLSD Docket 03/25/2015 Page 1 of 10



                          UNITED STATES DISTRICT COURT

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                            TH ISTRITOFjONA
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                                         o g cq-Sg0(A
                                   18ti.s.c.j19s6(h)                               /OTu o-qu>-y:;
                                   18 U.S.C.j1344
                                   18U.S.C.j 982

 UNITED STATES OF AM ERICA

 V S.                                                             FILED by           D4 ,

 NIDAL AHM ED W AK ED HATUM ,                                         MA2 2 i 2215
        a/k/a ''N idalW aked,''                                     STEVEN M tARIR R:
 T AM A S ZA FIR ,                                                  caeRKu iam cl
 STA R TEX TILE M A NU FA CT UR IN G ,IN C .,                        s.o,ofi#jlsszsw.
                                                                                    .
                                                                                      jg .
        and
 V IDA PA NA M A ,Z.L.,S.A .,

              D efendants.
                                           /

                                       INDICTM ENT

        TheGrand Jury chargesthat:

                                     G eneralA lletation:

        Atvarioustimesrelevantto thisindictm ent'
                                                .

              Ocean Bank wasa fsnancialinstitution,thedepositsofwhich were insured bythe

 FederalDepositlnsuranceCorporation(FDIC).
              STAR TEXTILE M ANUFA CTURJNG, lNC.,was a Florida corporation. The

 presidentof the corporation and its owner was defendant NID A L A H M ED W AK ED H ATU M .

 The m anagerw asTAM A S ZA FIR .

              VIDA PANAM A,Z.L.,S.A.,was a corporation form ed under the laws ofthe

 Republic of Panam a, located in the Colon Free Trade Zone. The ow ner and general m anager

 wasdefendantNID A L A H M ED W A KED H ATUM .
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                                          COUNT 1
                                 M oney Laundering C onspiracy
                                        18U.S.C.j1956(h)
                The general allegations set forth above are re-alleged and fully incop orated

 herein by reference.

        2.      From in or about January 2000, until on or about February 9, 2009, in

 M iami-Dade County,in the Southern DistrictofFlorida,and elsewhere,thedefendants,

                            N IDA L A H M ED W A K ED H A TU M ,
                                       a/k/a ''N idalW akedq''
                                      T AM AS ZA FIR,
                         STAR TEX TILE M A NU FA C TUR IN G ,IN C.,
                                            and
                                V ID A PA N AM A .Z.L .,S.A .,

 knowingly and willfully com bined,conspired,and agreed witheach otherand with othersknown

 andunknowntothegrandjul'
                        ytocommitcertainoffensesagainsttheUnitedStates,thatis:
        to knowingly engage in a monetary transaction in and affecting interstate and foreign

 com m erce,by,through and to a financial institution,in crim inally derived property of a value

 greaterthan $10,000,which wasderived from specified unlawfulactivity,in violation ofTitle

 18,United StatesCode,Section 1957.

        Itis further alleged that the specified unlaw fulactivity was fraud on a foreign bank,in

 violation ofthe laws of Panama,and the manufacture,im portation,sale and distribution ofa

 controlled substance,punishableunderthe lawsoftheUnited States,M exico and Panama.

        to knowingly transport,transm it,and transfera m onetary instrum entand funds from a

 place in the United States to a place outside the U nited States,and to a place in the United States

 from a place outside the U nited States,w ith the intent to prom ote the carrying on of specified

 unlawfulactivity,inviolation ofTitlel8,UnitedStatesCode,Section 1956(a)(2)(A).
        ltis further alleged that the specitied unlaw fulactivity was fraud on a tbreign bank,in

                                                 2
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 violation ofthelawsofPanam a.

        A1linviolationofTitle18,UnitedStatesCode,Section 1956(h).
                                          C O UN T 2
                                 M oney Laundering C onspiracy
                                       18U.S.C.j1956(h)
               The general allegations set forth above are re-alleged and fully incorporated

 herein by reference.

        2.     From in or before January 2008, through on or about D ecem ber 25, 2011, in

 M iam i-Dade County,in the Southern D istrictofFlorida,and elsew here,the defendants,

                              NIDA L A H M ED W A K ED H ATU M ,
                                     a/k/a d
                                           'N idalW aked''
                                              and
                                 V IDA PA N A M A ,Z.L.,S.A .,

 knowingly and willfully combined,conspired,and agreed with each otherand with othersknown

 andunknowntothegrandjurytocommitcertainoffensesagainsttheUnitedStates,thatis,
        to ltnowingly conduct a financial transaction in and affecting interstate and tbreign

 comm erce,which transaction involved the proceedsofspecitied unlawfulactivity,knowing that

 the property involved in the financial transaction represented the proceeds of som e fonn of

 unlawfulactivity,and knowing thatthetransaction wasdesigned in whole and in partto conceal

 and disguise the nature,source,ownership,and controlof the proceeds of specified unlawful

 activity,inviolationofTitle 18,United StatesCode,Section 1956(a)(1)(B)(i),and
 2)     to know ingly transport, transm it, and transfer a m onetary instrum ent and funds from a

 place in the United Statesto a place outside the U nited States,and to a place in the United States

 from a place outside the U nited States,know ing thatthe m onetary instnlm entand funds involved

 in the transportation,transm ission,ortransfer represented the proceeds ofsom e form ofunlaw ful

 activity and know ing thatsuch transportation,transm ission ortranstkr was designed in w hole or

                                                 3
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 in partto concealand disguise the nature,the location, the source,the ow nership and the control

 of the proceeds of specified unlawfulaetivity, in violation of Title 1S,United States Code,

 Section 1956(a)(2)(B)(i).
        ltisfkrtherallegedthatthespecitled unlawfulactivity wasthe manufaeture,importation,

 sale and distribution ofa controlled substance,punishable underthe laws ofthe United States,

 M exieo and Panama.

        Al1inviolationofTitle18,UnitedStatesCode,Section 1956(h).
                                           C O U NT 3
                                          Bank Fraud
                                       18U.S.C.9134442)
               The general allegations set forth above are re-alleged and fully incorporated

 herein by reference.

               From on or about N ovem ber 21, 2007, to on or about February 9, 2009, in

 M iam i-Dade county in the Southern D istrictofFlorida and elsew here,the defendants,

                            N ID A L AH M ED W A K ED H A T UM ,
                                        a/k/a 'N idalW aked,''
                                       TA M A S ZA FIR,
                         STAR TEXTILE M ANUFACTURING ,INC.,
                                                  and
                                 V ID A PAN A M A ,Z.L.,S.A .,

 knowingly and with intentto defraud executed and attempted to execute ascheme and artificeto

 obtain moneys,funds,assets,credits,and otherproperty owned by and under the custody and

 controlofa financialinstitution,thatis,Ocean Bank,by m eansoffalse and fh udulentpretenses,

 representations,and prom ises relating to a m aterialfact,in violation of Title 18,U nited States

 Code,Section 1344(2).
                                     Pum oseofthe Sçhem ç
               The purpose ofthe schem e w as to obtain a low er interestrate on a line ofcredit

                                                4
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 that Ocean Balzk had extended to and which was being drawn on by STAR TEXTILE

 M AN U FA CTU RIN G ,IN C .

                                      M annerand M eans

               The m annerand m eansofthe scheme to obtain a lowerinterestrate from Ocean

 Bank ineluded the issuanee ofwire transfersfrom VIDA PANAM A'S aceountata bank in the

 Republic of Panam a to STA R TEX TILE'S account at O cean Bank in M iam i.The defendants

 claim ed to officersofOcean Bank thatthe wire transfersrepresented loan proceeds from V IDA

 PANAM A 'S bank in Panama,and thatthose loans were being extended ata lower interestrate

 than STAR TEXTILE was paying on itsexisting line ofcreditatOcean Bank.The defendants

 soughtto obtain a Iowerinterestrate by tryingto induce Ocean Bank to meetthe rateoffered by

 thiscompeting bank.

         5.    These representationsw ere false.In reality,as the defendants then knew ,the wire

 transfersinvolved mere circulartransfersofthe same funds,belonging to VIDA PANAM A and

 N ID A L W A K ED ,which once w ire-transferred to STA R TEX TILE w ere im m ediately returned

 to V ID A PAN AM A by check.

                               Acts in Furtherance ofthe Schem e

         6.    On or aboutN ovem ber 21,2007,defendantZA FIR sentan e-m ailto his account

 manager atOcean Bank,in which he asserted that wire transfers being received from VIDA

 PANAM A by STAR TEXTILES were loan proceeds,and thatthe loans were being extended

 from a bank in Panam a at a low er interest rate than STA R TEX TILES w as paying to O cean

 Bank.

         7.    O n or aboutD ecem ber 22,2007,defendants ZA FIR and W A KED telephonically

 discussed the interestrate and am ountSTA R TEX TILES had been paying to O cean Bank on its


                                               5
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 line of credit.W AKED told ZAFIR thatit was too high and too expensive and they should

 advise Oeean Bank thatthey had obtained an oflkrforalineofcreditatamuch cheaperrate.

           8.   On a num berofoccasions between Decem ber2007 and M ay 1,2008, defendant

 ZA FIR contacted an officer of O cean Bank to try to obtain a lower interest rate on the line of

 credit.

        9.      Between Decem ber 2007 and M ay 1,2008,at defendant W AKED'S direction,

 defendantZAFIR advised an Ocean Bank accountmanagerand a vice presidentthatthey had

 obtained approvalforcreditfor STAR TEXTILES attheN ew York Citibarlk prime rate from a

 bank in Panam a,and soughta reduction in O cean Bank's interestrate to m atch it.

                A1lin violation ofTitle 18,United StatesCode,Section 1344(2)and Title 18,
 U nited StatesCode,Section 2.

                              FO R FEITU RE A LLEG A TIO N S

                The allegations of this lndictment are re-alleged and by this reference fully

 incorporated herein for the purpose of alleging crim inal tbrfeiture to the U nited States of

 Am erica ofcertain property in w hich the defendants

                           N ID A L AH M ED W A K ED H A TU M ,
                                       a/k/a ''N idalW aked,''
                                     TA M AS ZA FIR,
                        STAR TEX TILE M AN U FA CT UR IN G ,IN C.,
                                            and
                                V IDA PA NA M A ,Z.L.,S.A .,
 have an interest.

                U pon conviction of a violation ofTitle 18,U nited States Code,Section 1956,as

 alleged in this Indictm ent,the defendants so convicted shall forfeit to the U nited States of

 A m erica alloftheir respective right,title and interestin any property,realor personal,involved

 in such violation,or in any property traceable to such property,pursuant to Title 18,U nited


                                                6
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 StatesCode,Section982(a)(1).
               Upon conviction of a violation of Title 18,U nited States Code,Section 1344,as

 alleged in this lndictm ent, the defendants so convicted shall forfeit to the United States of

 America a1loftheir respective right,title and interestin any property constituting,or derived

 from ,proceedsobtained directly orindirectly,asa reûultofsuch violation,pursuantto Title 18,

 UnitedStatesCode,Section982(a)(2).
               A11pursuantto Title 18,United StatesCode,Section 982(a),and theprocedures
 outlined at Title 21,U nited States Code, Section 853,as m ade applicable by Title 18,U nited

 StatesCode,Section 982(b).
                                                          A TRU E BILL



                                                           okhgtxsox

      t               y),
                        /-
    W 1 RED O A .FERRER
    U N ITED STATES ATTO RN EY


        #
               c.   W '
    FRA NK H .TA M EN
    ASSISTANT UN ITED STATES ATTORNEY
Case 1:15-cr-20189-RNS Document 3 Entered on FLSD Docket 03/25/2015 Page 8 of 10
                                         UNITED STATES DISTRICT COURT
                                         SO UTHERN DISTRICT OF FLO RIDA

UNITED STA TES O F AM ERICA                      CASE NO.
VS.
                                                 CERTIFICATE O F TRIA L ATTORNEY*
NIDAL AHM ED W A KED HATUM,etaI.,

                                                 Superseding Case lnform ation:
                        D efendants.
CourtDivision:(selectone)                        New Defendantts)
 V                                               NumberofNew Defendants
       Mi
       FTaLmi            v
                         KveIBWest        FTp Totalnumberofcounts
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                Probable w i
                           tnesses and the Iegalcom plexi
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                                                                                       o n attached hereto.
                Iam Mware thatthe information supplied ?n thij qtatementwillbe relied upon by the Judges ofthis
                CoudInsettingtheircalendarsandschedullngcrlm lnaltrlalsunderthemandateofthe SpeedyTrialAct,
                Title 28 U.S.C.Secti
                                   on 3161.
                Iqterpreter: (YesQrNo)        No
                LlstIanguage and/ordlalect
                This case wiltake          6     days forthe padies to try.
       5.       Please checkappropriate categoryand type ofoffense Iisted below :
                (Checkonlyone)                                  (Checkonlyone)
                0 to 5 days                                               Petty
                6 to 10 days                                              Minor
                11 to 20 days                                             Misdem .
                21 to 60 days                                             Felony
                61 days and over
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                                  2007?
                                     ,         Yes



                                                                  *                  .

                                                         FRANK H.TAM EN
                                                         ASSISTANT UNITED STATFS ATTO RNFY
                                                         Florida BarNo./courtNo.261289

*penaltySheetts)attached                                                                               REV 10/2013
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                           UNITED STATES DISTR ICT COU RT
                           SOU TH ERN D ISTRICT O F FLO RIDA

                                     PENALTY SH EET
   Defendant'sN am e: N IDAL AHM ED W AKED HA TUM

   Case No:


   Counts#: land 2

    M oney Laundering Conspiracy

   Title 18,United StatesCode,Section 1956

    *M ax.Penalty:   20 Y ears'lm prisonment

   Count#: 3

   Bank Fraud

   Title 18,United StatesCode,Section 1344

    *M ax.Penalty:    30 Years'Im prisonm ent




   *Refersonly to possible term ofincarceration does notinclude possible flnes,restitution,
                                               ,
           specialassessm ents,parole term s,or forfeituresthatm ay be applicable.
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                             UNITED STA TES DISTRICT COUR T
                             SO UTH ERN D ISTRICT O F FLO RID A

                                       PENALTY SH EET
    Defendant'sNam e: TAM A S ZAFIR

    Case No:                                                            --             -




    Count#: l

    M oney Laundering Conspiracy

    Title 18,U nited StatesCode,Section 1956

    *M ax.Penalty:     20 Years'Im prisonm ent

    Count#: 3

    Bank Fraud

    Title l8,United States Code,Section 1344

    *M ax.Penalty:     30 Years'lm prisonm ent




    *Refersonly to possible term ofincarceration doesnotinclude possible snes,restitution,
                                                ,
            specialassessm ents,parole term s,or forfeituresthatm ay be applicable.
